         Case 5:20-cv-02091-MHH Document 40 Filed 10/13/21 Page 1 of 2                             FILED
                                                                                          2021 Oct-13 AM 07:30
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHEASTERN DIVISION

JON CHRISTOPHER WOOSLEY,                      §
                                              §
               Plaintiff,                     §      Civil Action No. 5:20-cv-02091-HNJ
                                              §
               v.                             §
                                              §
GRAND CARIBBEAN CRUISE INC.,                  §
                                              §
               Defendant.                     §
                                              §
                                              §


                                  STIPULATION TO DISMISS


TO THE CLERK:

       Plaintiff Jon Christopher Woosley and Defendant Grand Caribbean Cruises, Inc., by and

through their respective attorneys, and pursuant to Fed. R. Civ. P. 41(a), hereby stipulate and

agree to the dismissal with prejudice of Plaintiff Jon Christopher Woosley’s claims against

Grand Caribbean Cruises, Inc. Each Party shall bear their own respective costs and attorneys’

fees. This Stipulation for Dismissal disposes of the entire action.



  /s/ Roy Taub                                          /s/ Amy L. Bennecoff Ginsburg
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                                                         Attorney for the Plaintiff
   Date: October 12, 2021
                                                        Date: October 12, 2021



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                              CERTIFICATE OF SERVICE

      I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct copy of

the Stipulation of Dismissal in the above-captioned matter, upon the following via CM/ECF

system:

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DATED: October 12, 2021                    /s/ Amy L. Bennecoff Ginsburg
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                                  STIPULATION FOR DISMISSAL
